







COURT OF APPEALS









COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS

&nbsp;


 
  
  &nbsp;
  BRIDGESTONE
  CORPORATION,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
  &nbsp;
  v.
  &nbsp;
  GUILLERMO S.
  HERNANDEZ CASTILLO,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.
  
  
  &nbsp;
   '
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   '
  &nbsp; &nbsp;
   '
  &nbsp; &nbsp;
   '
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  &nbsp;' 
  &nbsp;
  
  
  &nbsp;
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No. 08-02-00083-CV
  &nbsp;
  Appeal from the
  &nbsp;
  143rd District Court
  &nbsp;
  of Reeves County, Texas 
  &nbsp;
  (TC# 01-08-17131-CVR) 
  &nbsp;
  
 


&nbsp;

OPINION ON APPELLANT=S MOTION TO DISMISS 

INTERLOCUTORY APPEAL

&nbsp;

Before the Court is an interlocutory
appeal from the district court=s denial of Bridgestone Corporation=s special appearance.&nbsp; Appellant Bridgestone Corporation submits
this motion to vacate the trial court=s order and dismiss appeal because
the plaintiff in the underlying matter has asked the Dallas County District
Court to sign an order of nonsuit, dismissing the underlying matter.&nbsp; We vacate the trial court=s order denying the special
appearance and dismiss the appeal as moot.








Following the institution of this
appeal, appellee Castillo filed its notice nonsuiting Bridgestone in the trial
court.&nbsp; Rule 162 of the Texas Rules of
Civil Procedure gives a plaintiff the right to take a nonsuit at any time
before he has rested his case.&nbsp; Tex. R. Civ. P. 162.&nbsp; Accordingly, the nonsuit renders this appeal
moot.

The dismissal of the action against
Bridgestone vitiates the earlier interlocutory order.&nbsp; See In re Bennett, 960 S.W.2d 35, 38
(Tex. 1997); Hyundai Motor Co. v. Alvarado, 892 S.W.2d 853, 854-55 (Tex.
1995).&nbsp; As the order denying Bridgestone
Corporation=s special appearance is an
interlocutory order not reflecting any judgment on the merits of the case, we
vacate that order of the trial court.

We vacate the trial court=s order denying Bridgestone=s special appearance, grant the
appellant=s motion, and dismiss the
interlocutory appeal as moot.

&nbsp;

SUSAN
LARSEN, Justice

October 31, 2002

&nbsp;

Before Panel No. 1

Larsen, McClure, and Chew,
JJ.

&nbsp;

(Do Not Publish)

&nbsp;





